        Case 3:20-cv-00106-DPM-BD Document 55 Filed 10/01/20 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

JAMES DILLARD,
ADC #116862                                                                   PLAINTIFF

V.                          CASE NO. 3:20-CV-106-DPM-BD

BRENT COX, et al.                                                          DEFENDANTS

                                         ORDER

        The Medical Defendants have moved to strike Mr. Dillard’s objection to the order

denying his motion to compel. (Doc. No. 52) According to postal tracking information

attached to the motion to strike, the discovery responses at issue were delivered to Mr.

Dillard on September 25, 2020. (Doc. No. 52-1 at p.2) Mr. Dillard apparently received

the responses after he filed his objections, as set out in his motion to withdraw objections.

        Mr. Dillard’s motion to withdraw objections (Doc. No. 53) is GRANTED,

rendering the Medical Defendants’ motion to strike moot. Even so, Medical Defendants

are cautioned that their motion to strike was not well taken. They cited no authority for

striking an opposing party’s objection to a ruling.

        The Rules allow courts to strike pleadings in limited circumstances. FED. R. CIV.

P. 12(f) An objection, however, is not a pleading. And even if Rule 12(f) is read to permit

the Court to strike other papers, the Medical Defendants made no attempt to show—or

even argue—that Mr. Dillard’s filing was, “redundant, immaterial, impertinent, or

scandalous.” Id. The motion to strike (Doc. No. 52) is DENIED as frivolous, and also, as

moot.
Case 3:20-cv-00106-DPM-BD Document 55 Filed 10/01/20 Page 2 of 2




SO ORDERED, this 1st day of October, 2020.


                               ____________________________________
                               UNITED STATES MAGISTRATE JUDGE
